09-48174-swr   Doc 15   Filed 04/24/09   Entered 04/24/09 10:53:08   Page 1 of 8
09-48174-swr   Doc 15   Filed 04/24/09   Entered 04/24/09 10:53:08   Page 2 of 8
09-48174-swr   Doc 15   Filed 04/24/09   Entered 04/24/09 10:53:08   Page 3 of 8
09-48174-swr   Doc 15   Filed 04/24/09   Entered 04/24/09 10:53:08   Page 4 of 8
09-48174-swr   Doc 15   Filed 04/24/09   Entered 04/24/09 10:53:08   Page 5 of 8
09-48174-swr   Doc 15   Filed 04/24/09   Entered 04/24/09 10:53:08   Page 6 of 8
09-48174-swr   Doc 15   Filed 04/24/09   Entered 04/24/09 10:53:08   Page 7 of 8
09-48174-swr   Doc 15   Filed 04/24/09   Entered 04/24/09 10:53:08   Page 8 of 8
